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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )
    In re:                                                       )    Chapter 11
                                                                 )
    AMERICAN PHYSICIAN PARTNERS, LLC,                            )
                                                                      Case No. 23-11469 (BLS)
    et al.,1
                                                                 )
                                Debtors.                         )    (Jointly Administered)
                                                                 )

                                                           Hearing Date: January 5, 2024 at 10:00 a.m. (ET))
                                                     Objection Deadline: December 29, 2023 at 4:00 p.m. (ET)


  DEBTORS’ MOTION FOR ENTRY OF ORDER (I) AUTHORIZING (A) PRIVATE
 SALE AND (B) TRANSFER OF CERTAIN ACCOUNTS RECEIVABLE FREE AND
CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS; (II) APPROVING
THE TERMS OF THE ACCOUNT PURCHASE AGREEMENT; AND (III) GRANTING
                          RELATED RELIEF


             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this motion (the “Motion”) seeking entry of an order substantially in the form attached hereto as

Exhibit 1 (the “Sale Order”): (i) authorizing the private sale and transfer (the “Sale”) of certain of

the Debtors’ patients services accounts receivable, as further defined below (the “Accounts” or

“Assets”); (ii) approving the terms of that certain Account Purchase Agreement (the “Sale

Agreement”) attached to the proposed Sale Order as Exhibit A by and between Debtor American

Physician holdings, LLC and affiliated parties (collectively, the “Seller”), and Cascade Capital

Funding, LLC (the “Buyer”); and (iii) granting further relief. In support of this Motion, the

Debtors respectfully state as follows:



1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of American Physician
Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5121
Maryland Way, Suite 300, Brentwood, TN 37027.
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                                    JURISDICTION AND VENUE

         1.        The United States District Court for the District of Delaware has jurisdiction over

this matter pursuant to 28 U.S.C. § 1334, which was referred to the United States Bankruptcy Court

for the District of Delaware (the “Court”) under 28 U.S.C. § 157 pursuant to the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Debtors confirm their consent pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”) to the entry of a final order by the Court in connection with this Motion to the

extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

         2.        Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.        The statutory bases for the relief requested herein are sections 105(a) and, 363 of

title 11 of the United States Code, §§ 101 et seq. (the “Bankruptcy Code”), Rules 2002, 6004,

9013, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local

Rules 2002-1, 6004-1 and 9013-1.

                                           BACKGROUND

A.       General Case Background

         4.        On September 18, 2023 and continuing September 19,2023 (the “Petition Date”),

each Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The

Debtors are managing their properties as debtors-in-possession pursuant to Bankruptcy Code

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sections 1107(a) and 1108. No trustee or examiner has been appointed in the Debtors’ chapter 11

cases. On October 2, 2023, the Office of the United States Trustee (the “U.S. Trustee”) formed

the Official Committee of Unsecured Creditors (the “Committee”).

         5.        Founded in 2015, the Debtors were one of the fastest growing, scaled emergency

department and hospitalist management platforms in the U.S. Headquartered in Brentwood, TN,

the Debtors had management and related contracts with more than 100 hospitals (including

freestanding emergency departments) and other sites in fifteen states primarily in the southeastern,

midwestern and southwestern United States, utilizing over 2,500 physicians who served over 4

million patients each year. Prior to the Petition Date, the Debtors explored alternative strategies to

address cash shortfalls, including the refinancing of existing secured indebtedness and potential

sale of substantially all the Debtors’ service contracts and other assets. Such efforts by the Debtors

proved to be unsuccessful despite extensive negotiations with multiple parties. In July 2023, the

Debtors made the difficult decision to begin transitioning substantially all of their medical service

contracts to alternative service providers (competitors) and their health system/hospital partners

(customers), in order to avoid any interruptions in its critical life-saving service to the patients.

After successfully transitioning all its medical service contracts without experiencing a service

interruption, the Debtors have commenced these bankruptcy cases to facilitate and complete the

wind-down process and liquidate their remaining assets in an orderly and timely fashion.

         6.        Additional factual background regarding the Debtors, including their historical

business operations and the events leading to the filing of these chapter 11 cases is set forth in the




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Declaration of John C. DiDonato in Support of the Debtors’ Chapter 11 Petitions and First Day

Relief [Docket No. 18] and fully incorporated herein by reference. 2

B.       The Accounts

         7.        The Accounts consist of various categories of accounts receivables consistent with

numerous other provider management companies and other healthcare businesses. In the ordinary

course of business, APP outsources its revenue cycle management (“RCM”) services with respect

to the Accounts to Medical Consultants, Inc., a subsidiary of R1 RCM, Inc. (“MCI”), and in

addition utilizes well-known, experienced collection agencies Wakefield & Associates

(“Wakefield”) and Certified Revenue Management Executive “CRME”), and specialty RCM

providers for billing and follow-up for workers compensation and motor vehicle accident

healthcare claims. In addition, APP has active independent dispute resolution (“IDR”) claims in

the arbitration process under the federal No Surprises Act (“NSA”).

         8.        In the ordinary course of business prepetition, the Debtors would from time to time,

in lieu of continuing collection efforts of aged receivables, identify groupings of such receivables

and sell them in a group to one of three buyers including Cascade Capital Funding, LLC after a

short competitive private bid process. The liquidity generated by such private prepetition sales

would ensure a more regular income stream than if collection agencies pursued individuals for

payment of such aged receivables. The Accounts to be sold in the instant transaction expands on

the Debtors’ prepetition ordinary course practice by also including receivables that are earlier in

the collections cycle and thus are likely to have a higher average collection rate.



2
 Capitalized terms not used but not otherwise defined herein shall have the meanings ascribed to them in the First
Day Declaration.
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         9.        To obviate any privacy concerns the proposed transaction builds in substantial

protections of protected health information (“PHI”) consistent with Privacy Regulations of the

Health Insurance Portability and Accountability Act (“HIPAA”). APP and the Buyer have entered

into a business associate agreement (“BAA”). Accordingly, the Buyer has agreed to comply with

the requirements of HIPAA and manage and maintain any PHI (as defined in HIPAA) obtained

from APP always in compliance with, the HIPAA Privacy Regulations. The protections built into

the transaction are consistent with industry practice relating to sales of patient services receivables

like those proposed to be sold pursuant to this Motion. Such sales are commonplace in the Debtors’

industry.

         10.       The Debtors’ Accounts and/or proceeds from Accounts to be sold can be

categorized or pooled separately as set forth below:

         •         “Pool 1 Accounts”. The Pool 1 Accounts consist of approximately $60 million gross

         face balance of aged patient services receivables that have been previously sent for

         collection to CMRE;

         •         “Pool 2 Accounts”. The Pool 2 Accounts consist of approximately $242 million

         gross face balance of aged patient services receivables that have been previously sent for

         collections to Wakefield;

         •         “Pool 3 Accounts”. The Pool 3 Accounts consist of approximately $274 million

         gross face balance of active patient services accounts receivables managed by MCI,

         comprised of Blue Cross and other managed care claims; private pay claims; Medicare,

         Medicaid and Tricare claims; and Workers Compensation (“WC”) and motor vehicle

         accident (“MVA”) healthcare claims.

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         •         “Pool 4 Accounts”. The Pool 4 Accounts consist of a pool of accounts that are in

         the NSA / IDR process.

C.       The Debtors’ Marketing of the Accounts

         11.       The Debtors have appropriately marketed the Accounts. As described in more

detail below, the Debtors began marketing the Accounts in early October 2023. Ultimately, on

December 7, 2023, the Buyer offered a bid that, in the Debtors’ opinion, represented the best

available offer. Given the Debtors’ marketing of the Accounts, the Debtors believe that the

proposed private sale of the Assets to the Buyer represents the highest and best purchase price and

is in the best interests of the Debtors’ estates.

         12.       The Debtors’ initial list of potential buyers was compiled based upon the Debtors’

historic practice of periodically bundling and selling aged patient services accounts receivables

resulting from emergency department and hospitalist provider services that had previously been

sent for collection to Wakefield or CMRE to enhance the Debtors’ liquidity, as discussed above.

There are a limited number of buyers for receivables of this magnitude in this industry. The

Debtors contacted all of the significant prospective purchasers of emergency department and

hospitalist provider services accounts receivable.

         13.       On November 14 and 15, 2023, the Debtors commenced formal discussions with

potential buyers regarding the Debtors’ intended sale process 3 and on November 17, 2023 formally

announced an offering for the purchase of the Accounts (the “Offering”), subject to approval of

the Court.       After preliminary discussions with five (5) potential buyers, the Offering was

transmitted to approximately four (4) known industry buyers of emergency department and

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  The Debtors had conducted informal discussions with certain potential buyers as early as September 2023 and
commenced marketing of the Accounts in October 2023.
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hospitalist provider accounts receivable that signed an NDA and BAA governing protection of

PHI, with a bid deadline of November 22, 2023, which was extended to December 13, 2023 in

order to allow for bids to be included after the Thanksgiving holiday. The timeframe for such

discussions is consistent with industry practice. The Offering required all potential purchasers to

describe in their bids any applicable adjustments, restrictions, and other material economic terms

and conditions in order for the Debtors to ascertain the highest and best bid for the Assets. The

Offering disclosed that the Assets were for sale “as is, where is, and with all faults”. The Debtors

received three bids by the bid deadline, as extended. Two bids were for all of the Accounts and

one bid was for only a portion of the portfolio. On December 4, 2023, after initial discussions

regarding the first round of bids, the Debtors received a second round of “highest and best” bids

from the same three bidders.

         14.       The Debtors, with the assistance of their advisors, analyzed each of the bids and

determined that the offer submitted by the Buyer constituted the highest and best bid for the

Accounts. This determination was reached based upon several factors. First, the Buyer’s bid is an

“all in” bid for the entire portfolio of APP’s Accounts. This bid for the entirety of the Accounts

eliminates the requirement to conduct further piecemeal sales of Accounts, which would be more

costly and require additional time and resources to complete. The Debtors’ also considered the

likelihood of closing. Additionally, the Buyer is also a “single entity” purchaser, which eliminates

the time constraints and uncertainty of negotiating a Sale Agreement with multiple parties bidding

for separate lots of the Accounts. The Buyer also has a proven track record in the industry of

timely closing similar deals, which provides additional assurances that the Sale will close by the

proposed Closing Date. The Debtors have done prior deals with the Buyer, as a major purchaser

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of emergency department and hospitalist provider accounts, which has demonstrated the ability to

fund transactions timely.

         15.       Following the selection of the Buyer as the highest and best bidder for the Assets,

the Debtors then negotiated and entered into the proposed Sale Agreement with the Buyer, which

was executed effective December 14, 2023.

         16.       The Debtors believe that private sale of the Accounts to the Buyer is in the best

interests of the estates because a prolonged sale process and another auction for the Assets is not

likely to obtain a higher and better purchase price for several reasons. As noted above, the market

of potential buyers of the Assets is relatively limited and, as the Debtors engaged in the sale of its

aged receivables in the ordinary course of business prepetition, these potential buyers are well-

known to the Debtors. The Debtors considered multiple offers that likely drive the price to the

highest point. Even if the Debtors conducted a public auction, it is unlikely that they would receive

a higher and better bid than the one currently offered by the Buyer. The Debtors believe that the

likely best case scenario in an auction would be that previous bidders would either submit the same

bid, or would not be willing to conduct the necessary diligence to go through the process again.

By the time an auction is held, some of the receivables will have aged further and thereby lose

value. It is also unlikely that an auction would yield additional market participants given the

Debtors’ “distressed” status within the industry. The Debtors’ prepetition secured lenders have

consented to the Sale Agreement.

         17.       The material terms of the proposed sale contemplated by the Sale Agreement are

summarized below.




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                                           RELIEF REQUESTED

         18.       Pursuant to sections 105 and 363 of the Bankruptcy Code and Rules 6004, 9007,

and 9014 of the Bankruptcy Rules, the Debtors seek entry of the proposed Sale Order, substantially

in the form annexed as Exhibit 1 hereto, approving the Sale Agreement and authorizing the sale

of the Assets to the Buyer free and clear of all liens, claims, interests and encumbrances, pursuant

the private sale contemplated thereby.

                          MATERIAL TERMS OF THE SALE AGREEMENT

         19.       The following chart summarizes the key terms and conditions of the Sale

Agreement:4
 Provision              Summary Description
 Parties                “Seller”: American Physician Holdings, LLC (“APPHL”) on behalf of itself
                        and those persons and/or entities listed on Schedule 1 attached to the Sale
                        Agreement (such persons and entities other than APPHL, the “Affiliated
                        Parties” and along with APPHL, “APP”)

                        “Buyer”: Cascade Capital Funding, LLC (non-insider)

                        Preamble to Sale Agreement

    Assets to be        “Assets”: (a) accounts receivable owing to APP for services rendered to
    Sold to Buyer       individuals in the ordinary course of business, including all rights to payment
                        and collection from any payor including but not limited to commercial
                        insurance, government insurance and patient self-pay, and any amounts
                        awarded and fees refunded pursuant to the independent dispute resolution of
                        the federal No Surprises Act (“Accounts”) and (b) any payments (“Gap
                        Payments”) with respect to any Account sold under the Sale Agreement
                        which is received by APP from any third party (including any payments
                        received from any agents of APP) on or at any time between November 16,
                        2023 and the Closing Date

                        Recitals to Sale Agreement, Definitions, and Section 2.1

4
  This summary, including any references to the Sale Agreement contained herein (the “Summary”), are provided for
the convenience of the Court and parties in interest. To the extent there is any conflict between the Summary and the
Sale Agreement, the Sale Agreement shall govern in all respects. Capitalized terms used in the Summary shall have
the meanings ascribed to them in the Sale Agreement. All references to sections in the Summary shall refer to sections
of the Sale Agreement. Unless otherwise noted, any defined terms used in this section have the meanings ascribed in
the Sale Agreement.
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 Purchase               The Purchase Price is $7,710,000
 Price
                        Not later than two (2) business days following the mutual execution and
                        delivery of the Sale Agreement, Buyer shall deliver the amount of
                        $1,927,500.00 (25% of the Purchase Price) to be held in escrow (the
                        “Deposit”), which shall be credited to the Purchase Price at closing.

                        On the Closing Date, (a) Buyer shall authorize the release of the Deposit to
                        APP and (b) Buyer shall pay to APP the balance of the Purchase Price (i.e., the
                        amount equal to the Purchase Price minus the Deposit) net of the amount of
                        Gap Payments calculated as of the Closing Date.

                        Sale Agreement, Sections 2.3, 3.2.1 and 3.2.3

 Buyer                  Effective upon the Closing, Buyer hereby irrevocably and unconditionally
 Release of             waives, discharges and releases any and all litigation and other rights and
 Claims                 claims of Buyer against APP (including, without limitation, for all Direct
                        Payments made to APP (whether during the pre-petition or post-petition
                        periods)) in any way related to prior purchased accounts receivable
                        transactions to which APP and Buyer were parties.

                        Sale Agreement, Section 2.3

 Closing Date           January 12, 2024, or such other date as may be agreed to in writing by the
                        Parties, subject to extension by APP pursuant to Article 10 of the Sale
                        Agreement (the “Closing Date”).

                        Sale Agreement, Section 2.3.1

 Gap Payment            The Closing Date.
 Date
                        Sale Agreement, Section 2.4

 Conditions to          Typical conditions, plus entry of Sale Order
 Closing
                        Sale Agreement, Section 3.1


         20.       In the Debtors’ business judgment, the proposed sale is fair, reasonable, and the

best available option to maximize value for the Debtors and all stakeholders under these

circumstances, as more fully explained below.




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                                         BASIS FOR RELIEF

A.       The Court Should Approve the Private Sale to the Buyer

         21.       The Debtors submit that the approval of a private sale of the Assets to the Buyer,

pursuant to the terms of the Sale Agreement, is the best course of action under the circumstances

to maximize the value of the Assets for the Debtors’ estates. As noted above, prior to the

commencement of these chapter 11 cases, the Debtors had already had dealings with certain of the

major players in the industry and have marketed the Assets to the known universe of potential

buyers for these types of assets. Additional marketing is unlikely to yield a higher and better

Purchase Price. The Assets are likely to diminish in value as they age, and the Debtors do not

believe that anyone will offer a higher or better price for the Assets other than the Buyer; hence,

the Debtors propose to proceed on the basis of a private sale.

         22.       Section 363(b)(1) of the Bankruptcy Code provides: “The trustee, after notice and

a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). Thus, subject to court approval, the Bankruptcy Code permits a

debtor to enter into a transaction outside the ordinary course of business as long as there are “sound

business justifications” that support such action. Committee of Equity Sec. Holders v. Lionel Corp.

(In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983); see also In re Delaware & Hudson Ry.

Co., 124 B.R. 169, 176 (D. Del. 1991) (citing In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d

143, 145-47 (3d Cir. 1986) and concluding that the Third Circuit follows the “sound business

purpose” rather than the only in “emergencies” rule and requires a “good faith” finding).

         23.       In order to ascertain the existence of a sound business purpose for any sale out of

the ordinary course of business, this Court must find “some articulated business justification” for

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the proposed action. Delaware & Hudson Ry. Co., 124 B.R. at 175-76; see also In re Lionel Corp.,

722 F.2d at 1070; Titusville Country Club v. PennBank (In re Titusville Country Club), 128 B.R.

396, 399 (Bankr. W.D. Pa. 1991); In re Indus. Valley Refrigeration & Air Conditioning Supplies,

Inc., 77 B.R. 15, 19 (Bankr. E.D. Pa. 1987); In re Tower Air, Inc., 416 F.3d 229, 238 (3d Cir. 2005)

(stating that “[o]vercoming the presumptions of the business judgement rule on the merits is a

near-Herculean task”).

         24.       Generally, courts have applied four (4) factors in determining whether a sale of a

debtor’s assets should be approved: (a) whether a sound business reason exists for the proposed

transaction; (b) whether fair and reasonable consideration is provided; (c) whether the transaction

has been proposed and negotiated in good faith; and (d) whether adequate and reasonable notice

is provided. See Lionel, 722 F.2d at 1071-72 (setting forth the “sound business justifications”

requirement); Abbotts Dairies, 788 F.2d at 145-57 (interpreted by courts as implicitly adopting the

articulated business justification test and adding the “good faith” requirement); Delaware &

Hudson Ry., 124 B.R. at 176 (“Once a court is satisfied that there is a sound business reason or an

emergency justifying the pre-confirmation sale the court must also determine that the trustee has

provided the interested parties with adequate and reasonable notice, that the sale price is fair and

reasonable and that the purchaser is proceeding in good faith.”).

         25.       This fundamental analysis does not change if the proposed sale is private, rather

than public. See, e.g., In re Ancor Exploration Co., 30 B.R. 802, 808 (Bankr. N.D. Okla. 1983)

(“[T]he bankruptcy court should have wide latitude in approving even a private sale of all or

substantially all of the estate assets not in the ordinary course of business under § 363(b).”). The

bankruptcy court “has ample discretion to administer the estate, including the authority to conduct

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public or private sales of estate property.”); In re WPRV-TV, Inc., 143 B.R. 315, 319 (D.P.R. 1991),

vacated on other grounds, 165 B.R. 1 (D.P.R. 1992); accord, In re Canyon Partnership, 55 B.R.

520, 524 (Bankr. S.D. Cal. 1985). Thus, a court-approved auction process is not required as long

as the four-factor test is met. See, e.g., In re Great Atl. & Pac. Tea Co., Inc., 544 B.R. 43, 49-50

(Bankr. S.D.N.Y. 2016) (“[E]ven asset sales are not conditioned on such a requirement [of a formal

auction], which does not appear in the Bankruptcy Code or the Bankruptcy Rules.”). Here, the

proposed private sale of the Assets to the Buyer meets all of these requirements and should be

approved because the Assets have been adequately marketed and the Sale Agreement represents

the highest and best offer therefor.

         (i)       There is a Sound Business Reason to Proceed with the Private Sale

         26.       The Debtors believe that consummating the sale of their Accounts on a private basis

is appropriate in light of the facts and circumstances of these chapter 11 cases, and in the best

interest of their estates. The Debtors had already sold accounts similar to the Accounts in the

ordinary course prior to the commencement of these chapter 11 cases. Potential bidders are

obviously aware that the Debtors are in chapter 11 and have limited funding to maintain operations.

As noted above, to the extent that potential bidders believe that the Assets are considered

“distressed”, they are likely to ascribe a lower purchase price. The Debtors do not believe, based

on their prepetition and postpetition marketing efforts, that they will be able to find an alternative

viable buyer with the ability to close a transaction on the same or better terms as Buyer under the

circumstances.

         27.       Finally, the Debtors believe that their estates and creditors will benefit from the

approval of the Sale Agreement without the need to incur added costs and delay associated with a

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public auction and sale process, at which the Debtors are not guaranteed the commitment of the

Buyer to adhere to the Sale Agreement at all, much less at the price to be provided through the

Sale Agreement. The financial terms of the Sale are relatively modest and unlikely to generate

additional value sufficient to warrant the expense of another round of marketing and auction.

Moreover, the Debtors’ plan confirmation hearing is expected to be held concurrently with the

hearing on the Sale.

         (ii)      The Purchase Price is Fair and Reasonable Under the Circumstances

         28.       The Debtors believe the Purchase Price represents a fair and reasonable price for

the Assets in light of the robust marketing efforts undertaken and the Debtors’ economic and

financial condition as set forth above. No party has offered more consideration or indicated an

intention to offer a higher price with certain and executable closing terms. Given the universe for

the purchase of assets of this type and the marketing efforts made to date, the Debtors submit the

price is fair and reasonable under the circumstances of this case. See e.g., In re Pursuit Cap.

Mgmt., LLC, 874 F.3d 124, 128 (3d Cir. 2017) (trustee provided testimony that the offer

represented a “fair and reasonable price”). Thus, the Debtors believe that the Buyer’s offer is the

highest and best offer under these circumstances.

         (iii)     The Transaction is Proposed in Good Faith

         29.       The Debtors submit that the transaction has been proposed in good faith. The terms

of the Sale Agreement are the product of extensive arms-length negotiations with the Buyer. The

Buyer is not an affiliate of any of the Debtors or their officers, directors, or employees. The Sale

Agreement will also maximize the return on the Assets and minimize future administrative

expenses.

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         (iv)      Adequate Notice Has Been Provided

         30.       With respect to the notice required in connection with a private sale, Bankruptcy

Rule 2002(c)(1) states, in pertinent part, that, the notice of a proposed use, sale or lease of property

shall include the terms and conditions of any private sale and the deadline for filing objections.

The notice of a proposed use, sale or lease of property is sufficient if it generally describes the

property. The Debtors have provided (or will timely provide) adequate notice of the proposed

transaction to parties-in-interest. See Fed. R. Bankr.P. 2002(c)(1) (notice must contain “the terms

and conditions of any private sale and the time fixed for filing objections.”); see also, Delaware

& Hudson Ry., 124 B.R. at 180 (the disclosures necessary in such a sale notice need only include

the terms of the sale and the reasons why such a sale is in the best interests of the estate and do not

need to include the functional equivalent of a disclosure statement). The Debtors submit that the

information contained herein more than satisfies the notice requirements.

         31.       The Debtors respectfully submit that, in their informed business judgment, there is

nothing to be gained by conducting a formal auction of the Assets. Even if there were other entities

willing and able to overbid the Buyer (which the Debtors believe to be unlikely given marketing

efforts made to date and the limited universe of buyers already known to and contacted by the

Debtors), the likely diminishment in value associated with further delay is unlikely to yield higher

and better offers. For these reasons, the Debtors request that the Court not require the Debtors to

conduct a public sale or to establish bidding procedures, but instead to approve the proposed

transaction with the Buyer.




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B.       The Sale is Appropriate Pursuant to Bankruptcy Rule 6004(f)

         32.       Bankruptcy Rule 6004(f) authorizes a debtor to sell property outside of the ordinary

course of business by private sale or public auction.             As discussed above, the proposed

consideration represents a fair and reasonable value under the circumstances. As previously noted,

a court-approved auction process is not required to prove it so under the Bankruptcy Code,

Bankruptcy Rules, or Local Rules. See, e.g., In re The Great Atl. & Pac. Tea Co., Inc., 544 B.R.

43, 49-50 (Bankr. S.D.N.Y. 2016).           Additionally, courts have held that a debtor has broad

discretion to determine the manner in which its assets are sold. See In re Bakalis, 220 B.R. 525,

531 (Bankr. E.D.N.Y 1998) (noting that a trustee has ample authority to conduct a sale of estate

property through private sale).

         33.       The proposed Sale of the Accounts was already subject to an extensive negotiation

process and resulted in a purchase price that is fair and reasonable under the circumstances. In an

exercise of their sound business judgment, the Debtors have determined that consummating the

proposed sale on a private basis is appropriate in light of (i) the nature of the Assets being sold and

(ii) the facts and circumstances chapter 11 cases and is in the best interest of their estates and all

parties in interest. The Debtors, therefore, respectfully submit that the Sale Agreement should be

approved.

C.       The Sale is Proposed in Good Faith Within the Meaning of 11 U.S.C. § 363(m)

         34.       As discussed above, the Sale Agreement was negotiated at arms-length and in good

faith. The Buyer is not affiliated with any of the Debtors or their representatives. Accordingly,

this Court should find that Buyer has acted in good faith within the meaning of section 363(m) of

the Bankruptcy Code. See generally, Marin v. Coated Sales, Inc. (In re Coated Sales, Inc.), No.

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89 Civ. 3704 (KMW), 1990 WL 212899 (S.D.N.Y. Dec. 13, 1990) (holding that to show lack of

good faith, a party must demonstrate “fraud, collusion, or an attempt to take grossly unfair

advantage of other bidders”); see also generally In re Pisces Leasing Corp., 66 B.R. 671, 673

(E.D.N.Y. 1986) (examining the facts of each case, concentrating on the “integrity of [an actor’s]

conduct in the course of the sale proceedings” (quoting In re Rock Indus. Mach. Corp., 572 F.2d

1195, 1198 (7th Cir. 1978)).

D.       The Sale Should Be Free and Clear of Any Liens, Claims, and Interests

         35.       In accordance with section 363(f) of the Bankruptcy Code, a debtor in possession

may sell property under section 363(b) “free and clear of any interest in such property of an entity

other than the estate” if any one of the following conditions is satisfied:
         (a)       applicable nonbankruptcy law permits sale of such property free and clear
                   of such interest;
         (b)       such entity consents;
         (c)       such interest is a lien and the price at which such property is to be sold is
                   greater than the aggregate value of all liens on such property;
         (d)       such interest is in bona fide dispute; or
         (e)       such entity could be compelled, in a legal or equitable proceeding, to accept
                   a money satisfaction of such interest.

11 U.S.C. § 363(f); see In re Elliot, 94 B.R. 343, 354 (E.D. Pa. 1988) (sale “free and clear” may

be approved provided the requirements of at least one subsection are met). The proposed sale will

satisfy at least one of the subsections of Section 363(f). The Debtors’ secured lenders have

consented to the transaction. Any other holder of alleged liens or security interests that raises a

purported objection to the sale would be subject to bona fide dispute and/or could be compelled,

in a legal or equitable proceeding, to accept a money satisfaction of such interest. Moreover, the

failure to object to the sale constitutes implied consent. Accordingly, the Debtors request that the


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transfer be approved “free and clear,” with any liens, claims, encumbrances and interests to attach

to proceeds of the sale.

E.       Relief Under Bankruptcy Rules 6004(h) is Appropriate

         36.       Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

of property … is stayed until the expiration of fourteen days after the entry of the order, unless the

court orders otherwise.” The Debtors’ request that the Sale Order be effective immediately upon

its entry by providing that the fourteen-day stay under Bankruptcy Rules 6004(h) and 6006(d) is

waived.

         37.       The purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for an

objecting party to appeal before an order can be implemented. See Advisory Committee Notes to

Fed. R. Bankr. P. 6004(h). Although Bankruptcy Rules 6004(h) and the Advisory Committee

Notes are silent as to when a court should “order otherwise” and eliminate or reduce the fourteen-

day stay period, the leading treatise on bankruptcy suggests that the fourteen-day stay should be

eliminated to allow a sale or other transaction to close immediately “where there has been no

objection to procedure.” 10 COLLIER ON BANKRUPTCY ¶ 6004.11 (16th rev. ed. 2022).

         38.       To maximize the value received under the Sale Agreement, the Debtors seek to

close the sale as soon as possible after the Sale Hearing. Accordingly, the Debtors hereby request

that the Court waive the fourteen-day stay periods under Bankruptcy Rules 6004(h).

                                                NOTICE

         39.       The Debtors will provide notice of this Motion to: (a) the U.S. Trustee; (b) the

United States Attorney’s Office for the District of Delaware; (c) the state attorneys general for all

states in which the Debtors conduct business; (d) counsel to the Debtors’ pre- and postpetition

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lender; (e) counsel to the Committee; (f) Buyer; and (g) any party that has requested notice

pursuant to Bankruptcy Rule 2002.

                                        NO PRIOR REQUEST

         40.       No prior request for the relief sought in this Motion has been made to this or any

other court.

                                            CONCLUSION

                   WHEREFORE, the Debtors respectfully request entry of the Sale Order granting

the relief requested herein and such other and further relief as the Court may deem just and

appropriate.

Dated: December 15, 2023                        PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                                /s/ Laura Davis Jones
                                                Laura Davis Jones (DE Bar No. 2436)
                                                David M. Bertenthal (CA Bar No. 167624)
                                                Timothy P. Cairns (DE Bar No. 4228)
                                                Peter J. Keane (DE Bar No. 5503)
                                                919 North Market Street, 17th Floor
                                                P.O. Box 8705
                                                Wilmington, DE 19899-8705 (Courier 19801)
                                                Telephone:     (302) 652-4100
                                                Facsimile:     (302) 652-4400
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                                                               tcairns@pszjlaw.com
                                                               pkeane@psjzlaw.com

                                                Counsel for the Debtors and Debtors-in-Possession




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                                        EXHIBIT 1

                                        Sale Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        )     Chapter 11
                                                                  )
    AMERICAN PHYSICIAN PARTNERS, LLC,                             )
                                                                        Case No. 23-11469 (BLS)
    et al.,1
                                                                  )
                                Debtors.                          )     (Jointly Administered)
                                                                  )
                                                                  )     Ref. Docket No. __


    ORDER (I) AUTHORIZING (A) PRIVATE SALE AND (B) TRANSFER OF CERTAIN
     ACCOUNTS FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
      INTERESTS; (II) APPROVING THE TERMS OF THE ACCOUNT PURCHASE
               AGREEMENT; AND (III) GRANTING RELATED RELIEF


             Upon the motion dated December 15, 2023 (the “Motion”) 2 of the Debtors for an order,

pursuant to sections 105(a) and 363 of the Bankruptcy Code and Bankruptcy Rules 2002 and 6004,

9013, and 9014, (i) authorizing the private sale and transfer of certain of the Debtors’ accounts

receivable and for services rendered to individuals in the ordinary course of business, including all

rights to payment and collection; (ii) approving the terms of that certain Account Purchase

Agreement (“Sale Agreement”) by and between Debtors American Physician Holdings, LLC

(“APPHL”), on behalf of itself and those persons and/or entities listed on Schedule I to the Sale

Agreement (the “Affiliated Parties” and along with APPHL, “APP”), and Cascade Capital

Funding, LLC (the “Buyer”); and (iii) granting further relief; and the Court having jurisdiction to



1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of American Physician
Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5121
Maryland Way, Suite 300, Brentwood, TN 37027.
2
  Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
in the Motion.



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consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and

the Amended Standing Order of Reference of the United States Court for the District of Delaware,

dated February 29, 2012; and consideration of the Motion and the requested relief being a core

proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before the Court pursuant to

28 U.S.C. §§ 1408 and 1409; and due and sufficient notice of the Motion having been given under

the circumstances; and it appearing that no other or further notice need be provided; and the Court

having reviewed the Motion; and the Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and it appearing that the relief

requested is in the best interests of the Debtors, their estates, and all parties in interest; and after

due deliberation; and good and sufficient cause appearing therefor;

THE BANKRUPTCY COURT HEREBY FINDS, ORDERS, ADJUDGES, AND

DECREES that3:

         1.        The Motion is GRANTED as set forth herein.

         2.        The Sale Agreement annexed hereto as Exhibit A and the sale of the Assets are

hereby approved as being in the best interest of the Debtors’ estates and their stakeholders. The

Debtors are hereby authorized and empowered to enter into, consummate, implement and perform

their obligations under the Sale Agreement, and to execute, deliver, and perform such agreements,

instruments, and documents and take any other actions that may be reasonably necessary and

desirable to implement and effectuate the terms of the Sale Agreement, this Sale Order, and the

Sale, without any further corporate action or orders of the Court.


3
  All findings of fact and conclusions of law set forth in this Sale Order or announced by the Court at the hearing in
relation to the Motion are hereby incorporated herein to the extent not inconsistent herewith.


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         3.        At the closing of the sale, the Debtors shall be, and hereby are, authorized and

empowered by sections 105 and 363(b) and (f) of the Bankruptcy Code to sell and effectuate the

transfer of the Assets to Buyer. The sale of the Assets by the Debtors to Buyer shall constitute a

legal, valid and effective transfer of the Assets, notwithstanding any requirement for approval or

consent by any person, and vest Buyer with all rights, title, and interests of the Debtors in the

Assets, subject to the terms of the Sale Agreement.

         4.        The negotiation of the Sale Agreement was non-collusive, conducted in good faith,

and is substantively and procedurally fair to all parties and interest. None of the Debtors or the

Buyer has engaged in any conducted that would cause or permit the Sale Agreement or the

transaction contemplated thereby to be avoided, or costs or damages to be imposed, under

Bankruptcy Code section 363(n). The Buyer is a good faith purchaser within the meaning of

Bankruptcy Code section 363(m), and is therefore granted and is entitled to all the protections

provided to a good faith purchaser under section 363(m) of the Bankruptcy Code. Neither the

Debtors nor the Buyer, nor any of their equity owners, officers, directors, employees, professionals

or other agents have engaged in any action or inaction that would (a) cause the entry into the Sale

Agreement, or consummation of the transactions contemplated thereby, to be avoided, or (b) result

in costs and damages to be imposed under section 363(n) of the Bankruptcy Code. Entry into the

Sale Agreement is undertaken by the parties thereto without collusion, and in good faith, as that

term is used in 363(m) of the Bankruptcy Code. All payments to be made by the Buyer and other

agreements or arrangements entered into by the Buyer in connection with the Sale have been

disclosed. The Buyer is not an “insider” of any Debtor (as defined under section 101(31) of the

Bankruptcy Code). The reversal or modification on appeal of the authorization provided herein to

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enter into the Sale Agreement and consummate the transactions contemplated thereby shall not

affect the validity of such transactions (including the Sale Agreement), unless such authorization

is duly stayed pending such appeal.

         5.        The sale is hereby approved pursuant to section 363(f) of the Bankruptcy Code.

The Assets sold pursuant to the Sale Agreement shall be transferred free and clear of all liens

(including without limitation, any statutory lien and any and all “liens” as that term is defined and

used in the Bankruptcy Code), liabilities, interests, rights, claims, encumbrances, and interests the

the fullest extent permissible pursuant to section 363(f) of the Bankruptcy Code; provided that

with such liens, claims, encumbrances and interests to attach to the sale proceeds of the Assets.

Neither the Sale Agreement nor the Assets under the Sale Agreement shall be subject to any

avoidance claim or cause of action arising under section 363(n) or chapter 5 of the Bankruptcy

Code. The Buyer would not have entered into the Sale Agreement and would not consummate the

transactions contemplated thereby if the sale of the Assets to the Buyer was not free and clear of

all liens, claims, encumbrances, and other interests, or if the Buyer would, or in the future could,

be liable for any such liens, claims, encumbrances, or other interests. The holders of any liens,

claims, encumbrances, or other interests against the Debtors, their estates, or any of the Assets who

did not object, who withdrew their objections, or whose objections were overruled, to the Sale

or the Motion are deemed to have consented pursuant to section 363(f)(2) of the Bankruptcy Code.

To the extent any person or entity that has filed statements or other documents or agreements

evidencing liens, claims, encumbrances, or other interests in all or any portion of the Assets, and

such person or entity has not filed and executed the appropriate termination statements,

instruments of satisfaction, releases of liens and easements, or any other documents necessary to

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document the release of such liens, claims, encumbrances, or other interests, the Debtors are hereby

authorized, and the Buyer is hereby authorized on the Debtors’ behalf, to execute and file such

statements, instruments, releases, and other documents on behalf of such person or entity with

respect to the Assets. For the avoidance of doubt, the Debtors and the Buyer are each authorized

to file, register, or otherwise record a copy of this Sale Order, which, upon filing, shall be

conclusive evidence of the release and termination of such liens, claims, encumbrances, or other

interests.

         6.        Upon the Closing, except as provided in the Sale Agreement, the entry of this Order

shall mean that the Buyer (and any of its affiliates, successors, or assigns), as a result any action

taken in connection with the Sale Agreement or the consummation of the transactions

contemplated thereby, shall not be, nor be deeded to: (a) be a legal successor or successor to the

Debtors: (b) have, de facto, merged or consolidated with or into the Debtors; or (c) be an alter ego

or a mere continuation or substantial continuation of the Debtors or the enterprise(s) of the Debtors,

or otherwise be deemed to be acting in concert or active participation with the Debtors.

         7.        Nothing contained in the Motion or this Sale Order, nor any payment made pursuant

to the authority granted by this Sale Order, shall constitute or be construed as (a) an admission as

to the validity of any claim against the Debtors; (b) a waiver of the Debtors’ or any appropriate

party in interest’s rights to dispute the amount of, basis for, or validity of any claim against the

Debtors; (c) a waiver of any claims or causes of action which may exist against any creditor or

interest holder; or (d) an approval, assumption, adoption, or rejection of any agreement, contract,

lease, program, or policy between the Debtors and any third party under section 365 of the

Bankruptcy Code.

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         8.        Notwithstanding Bankruptcy Rule 6004(h), this Sale Order shall be effective and

enforceable immediately upon entry. Any party objecting to this Sale Order must exercise due

diligence in filing an appeal and obtaining a stay prior to the closing of the sale or risk its appeal

being foreclosed as moot.

         9.        The Debtors and the Buyer are authorized to take all action necessary to effectuate

the relief granted in this Sale Order in accordance with the terms of the Sale Agreement.

         10.       The Sale Agreement and any related agreements, documents, or other instruments

may be waived, modified, amended, or supplemented by the parties thereto, and in accordance

with the terms thereof, without further order of this Court; provided that any such waiver,

modification, amendment or supplement does not have a material adverse effect on the Buyer or

the Debtors’ estates.

         11.       This Sale Order shall inure to the benefit of the Buyer and the Debtors, and their

respective successors and assigns, including, but not limited to, any chapter 11 or chapter 7 trustee

that may be appointed in these chapter 11 cases, and shall be binding upon any trustee, party,

entity, or fiduciary that may be appointed in connection with these chapter 11 cases or any other

or further cases involving the Debtors, whether under chapter 7 or chapter 11 of the Bankruptcy

Code.

         12.       To the extent any provision of this Sale Order conflicts with the terms and

conditions of the Sale Agreement, this Sale Order shall govern and control.




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         13.       The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Sale Order.




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                                       EXHIBIT A

                                      Sale Agreement




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                                           ACCOUNT PURCHASE AGREEMENT




          This Account Purchase Agreement (the "Agreement") is made and entered into as of December 15, 2023 by

and between American Physician Holdings, LLC (APPHL"), Chapter 1 1 Debtor and Debtor-in-Possession in Case

No. 23 - 1 1 4 6 9 (BLS) (the "Case") pending in the United States Bankruptcy Court for the District of Delaware (the

"Bankruptcy Court"), such entity having its business mail received at PO Box 150569 Nashville, TN 3 7 2 1 5 , on behalf

of itself and those persons and/or entities listed on Schedule 1 attached hereto and incorporated herein by this reference

(such persons and entities other than APPHL, the "Affiliated Parties" and along with APPHL,              hereinafter collectively

referred to as" APP") and Cascade Capital Funding. LLC (Buyer"), with its principal place of business at 5 3 4 1 Old

Redwood Highway, Suite 2 0 1 , Petaluma, CA 94954 (each a "Party, and collectively, the "Parties")



In consideration of the mutual promises in this Agreement and other good and valuable consideration, the sufficiency

and receipt of which is mutually acknowledged, the Parties agree as follows:




                                                    ARTICLE 1 DEFINITIONS




          "Accounts" means accounts receivable owing to APP for services rendered to individuals in the ordinary

course   of business,   including   all   rights   to payment and collection from      any payor including but not    limited to

commercial insurance, government insurance and patient self-pay,               and any amounts      awarded and fees refunded

pursuant to the independent dispute resolution (IDR") of the federal No Surprises Act ("NSA").



"Affiliated Parties" has the meaning ascribed to such term in the Preamble to this Agreement.



"APP" and "APPHL" have the respective meanings set forth in the Preamble to this Agreement.




"Approval Order" shall mean an order of the Bankruptcy Court entered in the Case in form and content reasonably

satisfactory to each of Buyer and APP approving this Agreement.



"Buyer" shall refer to Cascade Capital Funding, LLC, and its officers, agents, employees, successors, and assigns.



"Closing" is defined in Section 3.2 below.




"Closing Date"     means   the date on which APP          will transfer all right,   title and interest in the Portfolio and Gap

Payments to Buyer and the Buyer will pay APP for the Portfolio. The Closing Date is set forth in Section 2 .3 . 1 , subject

to extension by APP pursuant to Article IO hereof.



"Deposit" means Good Funds in an amount equal to twenty-five percent (25%) of the Purchase Price.




"Direct Payment(s)" means any payment with respect to any Account sold under this Agreement, which is received

by APP from any third party (including any payments received from any third-party collection agents of APP) on or

at any time following the Closing Date.



"File" refers to any APP (a) disc, tape, CD-ROM or other agreed physical media, or (b) electronic file (e.g. SFTP,

zip), provided to Buyer that identifies the Accounts to be sold and assigned to Buyer under this Agreement.



"File Date" means the date the File was created.




Gap Payments" means any payment with respect to any Account sold under this Agreement which is received by

APP from any third party (including any payments received from any agents of APP) on or at any time between

November 1 6 , 2023 and the Closing Date.



"Gap Payment Due Date" will have the meaning set forth in Section 2.4.



"Good Funds" is defined in Section 2.3 hereof.




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"Governmental Entity" means (i) any nation, state, commonwealth, province, territory, county, municipality, district

or other jurisdiction of any nature, foreign or domestic, (ii) any federal, state, local, municipal, or other government

of the foregoing,         (iii)   any governmental or quasigovernmental entity of any nature (including any governmental

agency,   branch,        department,     official,     or   entity and    any   court   or other tribunal)     or   (iv)    anybody    (including       any

international       or   multinational     body)       exercising,   or   entitled   to   exercise    any   administrative,        executive,    judicial,

legislative, police, regulatory, or taxing authority or power of any nature, including any arbitral tribunal.



"Portfolio" means a group of Accounts, as identified in a corresponding File, that meet the criteria (in the Summary

Sheet) and that that are to be sold and transferred to Buyer on the Closing Date.



"Summary Sheet" means the schedule attached to and made a part of this Agreement as Exhibit 1. The Summary

Sheet contains: the name/date of the File, the aging criteria for Accounts in the Portfolio and the addresses to be used

for notices in respect to this Agreement, and may contain the number of Accounts and the aggregate balance of the

Accounts included in the Portfolio.



"Transaction Detail" means a file listing all transactions received from any collection agency, vendor, provider or

agent with whom the Accounts were placed along with the transaction history of the Accounts and the details of any

existing payment arrangements.



                                          ARTICLE             2    SCOPE AND PURCHASE PRICE



2.1       Agreement to Sell.             Subject to the terms and conditions in this Agreement, APP agrees to sell to Buyer and

Buyer agrees to buy from APP, free and clear of any and all security interests, liens and encumbrances to the extent

provided in the Approval Order only, all of APP's right, title and interest in the Accounts in the Portfolio and the Gap

Payments.




          2 . 1.1        For the avoidance         of doubt,       the Parties   agree    that whenever the terms           "the    Portfolio"    or "the

          Purchase Price" are used in the singular in this Agreement (including such use in the Assignment attached as

          Exhibit 3), the same (as the context may require) are intended to refer collectively to each Portfolio to be

          sold and transferred pursuant to this Agreement and collectively to the corresponding Purchase Price for each

          such Portfolio.          In   like   manner,      "Gap   Payments"      and "File"    are    intended to     refer collectively        to    each

          corresponding Portfolio to be sold and transferred pursuant to this Agreement.



2.2       Deliverv        of File.      APP     will    use   commercially       reasonable   efforts   (which      term,    whenever used        in   this

Agreement, shall not be deemed to obligate the Party required to use such efforts to (x) initiate or pursue any action

or proceeding of any type or kind against any person or entity, or (y) pay or incur any fee, charge or similar amount

to any person or entity) to deliver to Buyer (i) the Collection (Debt Buyer) File Format from Medical Consultants,

Inc., a subsidiary of RI (MCT) as detailed on Exhibit 4 for all Accounts and                            (ii) the File and the Transaction Detail

for the applicable Accounts being serviced by collection agencies, in advance of the Closing Date.                                   Unless otherwise

agreed in writing, APP shall use commercially reasonable efforts to cause any File and Transaction Detail to be

delivered under this Agreement to                 be delivered not less than three (3) business days (which term shall refer for

purposes of this Agreement every Monday through Friday other than those which are federal bank holidays), prior to

the corresponding agreed Closing Date. APP shall use commercially reasonable efforts to cause the File and the

Transaction Detail to contain, at a minimum, the respective data fields identified in Exhibit 4.




2.3       Purchase Price.

          The number of Accounts in the combined Portfolio is:                       587,562 (as per Exhibit 1 and supporting schedules

          provided).




          The aggregate balance of the Accounts in the combined Portfolio, is $565,025,751 (as per Exhibit 1 and

          supporting schedules provided).




          The amount Buyer agrees to pay APP (the Purchase Price"), in cash or other immediately available good

          funds of the United States of America ("Good Funds"), for the combined Portfolio is $7,710,000.




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          Reference bid summary of combined Portfolio in Exhibit I for individual bid level details.




          Effective upon the Closing and notwithstanding any other provision hereof, Buyer hereby irrevocably and

          unconditionally waives, discharges and releases any and all litigation and other rights and claims of Buyer

          against APP (including, without limitation, for all Direct Payments made to APP (whether during the pre­

          petition or post-petition periods)) in any way related to prior purchased accounts receivable transactions to

          which APP and Buyer were parties.          To the extent that there is any litigation or other proceeding pending in

          any jurisdiction (including, without limitation, the Bankruptcy Case) with respect to any rights or claims

          which are the subject of this provision, promptly following the Closing (and in any event no later than fifteen

          ( 1 5 ) days thereafter),   Buyer shall take all steps necessary to cause such litigation or other proceeding to be

          terminated and dismissed with prejudice.




2.3.1     Closing Date.      The Closing Date will be January 12, 2024, or, subject to extension by APP pursuant to the

provisions of Article IO hereof, such other date as may be agreed to in writing by the Parties.



2.4       Gap Payment Date. The Gap Payment Due Date shall be the Closing Date.



2.5       HIP AA. APP is a covered entity", as defined in the Privacy Regulations of the Health Insurance Portability

and Accountability Aet ("HIPAA"). APP is entering into this Agreement in furtherance of the payment functions of

APP. The Parties acknowledge and agree that protected health information ("PHI") (as defined in HIP AA) will be

disclosed to Buyer, and used and disclosed by Buyer. including without limitation, use and disclosure to collection

agencies, credit reporting agencies, and other agents, vendors, subcontractors and assignees of Buyer as Buyer deems

necessary or desirable in effecting collection and payment on the Accounts sold under this Agreement.               Additionally,

Buyer agrees that it will       only disclose PHI    obtained from APP      to Buyer's agents, vendors,      subcontractors,   and

assignees that have agreed to, and will comply at all times with, the HIP AA Privacy Regulations.            APP acknowledges

and agrees (expressly subject to the provisions of Section 2 . 5 . 1 below) that the ability of Buyer to receive, use and

disclose PHI      incident to   the collection   of such Accounts is a material inducement to Buyer's          entering into   this

Agreement.




          2.5.1      The terms of the "Business Associate Agreement" between the Parties (executed prior hereto (as

          modified and amended concurrently with the mutual execution hereof)               or executed concurrently with this

          Agreement and attached hereto as Exhibit 2) is an integral part of this Agreement and is incorporated herein

          by reference, and will apply to and be complied with by Buyer in connection with any use and/or disclosure

          by Buyer of any PHI under this Agreement.



      ARTICLE3          DELIVERY OF DEPOSIT, LIQUIDATED DAMAGES, CONDITIONS TO CLOSING

                                           AND CLOSING DATE OBLIGATIONS



3.1       Closing Conditions.             In addition to all other conditions to a Party's obligations hereunder set forth under

the   other   provisions   of this    Agreement,   both   Buyer's   and   APP's   obligations   to   consummate   the   transaction

contemplated herein shall be subject to (a) the Approval Order having been entered by the Bankruptcy Court and the

Approval Order being unstayed and in full force and effect as of the Closing Date, and (b) there being no temporary

restraining order, preliminary or permanent injunction or other order preventing the consummation of the transactions

contemplated by this Agreement shall be in effect, and there shall be no proceeding brought by any Governmental

Entity pending before any court of competent jurisdiction seeking such an order.                Further, each Party's obligations

with respect to    the Closing shall be conditioned upon the other Party hereto having performed or complied in all

material respects with all obligations and covenants required by this Agreement to be performed or complied with by

such Party on or prior to the Closing Date.



3.2       Obligations Relating to Pavment of the Purchase Price.




          3.2.1      Not later than two (2) business days following the Parties' execution and delivery ofthis Agreement

(the date of such mutual execution and delivery is sometimes referred to herein as the "Execution Date"), Buyer shall

deliver the Deposit to Bass, Berry & Sims PLC (such entity, or another entity designated by APP                    in writing,the

"Escrow Holder) an amount equal to $ 1,927,500.00 (the "Deposit").                In tum, the Escrow Holder shall immediately




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deposit the Deposit into       a trust account to be held and disbursed ouly in accordance with the provisions of this

Agreement.      The Deposit shall become nonrefundable upon the termination of the transaction contemplated by this

Agreement pursuant to Section 9 . 1 hereof by reason of Buyer's default hereunder (a "Buyer Default Termination").

At the Closing, the Deposit shall be credited and applied toward payment of the Purchase Price.                       In the event the

Deposit becomes nonrefundable by reason of a Buyer Default Termination, Escrow Holder shall immediately disburse

the Deposit to APP to be retained by APP for its own account.            In the event that ( 1 ) APP accepts an offer from another

bidder for all or any part of the Portfolio, or (2) the transactions contemplated herein terminate by reason of (A) APP's

material default under this Agreement, or (B) the failure of a condition to Buyer's obligations hereunder, Escrow

Holder shall return to Buyer the Deposit within one ( 1 ) business day.




           3.2.2       BUYER     AND     APP    HEREBY       ACKNOWLEDGE               THAT,   IN   THE     EVENT        OF   BUYER'S

DEFAULT AND THE TRANSACTION CONTEMPLATED HEREIN FAILS TO CLOSE BY REASON OF SUCH

DEFAULT,          IT   WOULD     BE     IMPRACTICABLE          AND       EXTREMELY          DIFFICULT         TO     ESTIMATE      THE

RESULTING          DAMAGES         APP    MAY        SUFFER    OR    INCUR.        ACCORDINGLY,               NOTWITHSTANDING

ANYTHING TO THE CONTRARY HEREIN, BUYER AND APP HEREBY AGREE THAT CONSIDERING ALL

OF THE CIRCUMSTANCES                  EXISTING AT THE EXECUTION OF THIS AGREEMENT, A REASONABLE

ESTIMATE          OF   THE   TOTAL      DETRIMENT        THAT      APP   WOULD         SUFFER     IN   THE     EVENT      THAT     THE

TRANSACTION CONTEMPLATED HEREINF AILS TO CLOSE BY REASON OF BUYER'S DEFAULT IS AND

SHALL      BE     AN    AMOUNT      EQUAL       TO   THE     AMOUNT      OF   THE      DEPOSIT.        EXCEPT      AS    OTHERWISE

PROVIDED IN CLAUSES (ii) AND (iii) BELOW, SAID AMOUNT SHALL REPRESENT THE FULL, AGREED,

AND LIQUIDATED DAMAGES TO WHICH APP IS ENTITLED BY REASON OF ANY SUCH BREACH BY

BUYER AND APP HEREBY EXPRESSLY WAIVES ANY AND ALL OTHER CLAIMS TO DAMAGES                                                           OR

OTHER REMEDIES               (WHETHER AT        LAW     OR    IN   EQUITY).     THE      PAYMENT         OF   SUCH      AMOUNT       AS

LIQUIDATED             DAMAGES     IS   NOT     INTENDED      AS    A    FORFEITURE         OR   PENALTY,          BUT   RATHER       IS

INTENDED TO CONSTITUTE LIQUIDATED DAMAGES TO APP.                                      UPON BUYER'S DEFAULT AND APP'S

ELECTION          TO    TERMINATE        THIS   AGREEMENT           BY   REASON         THEREOF        IN   ACCORDANCE            WITH

SECTION 9 . 1 HEREOF, THIS AGREEMENT SHALL TERMINATE AND EXCEPT FOR () APP'S RIGHT TO

COLLECT THE AMOUNT OF SUCH LIQUIDATED DAMAGES, (ii) ANY PROVISIONS AND OBLIGATIONS

(INCLUDING, WITHOUT LIMITATION, BUYER'S INDEMNITY OBLIGATIONS PURSUANT TO ARTICLE 6

HEREOF)      OF THIS       AGREEMENT WHICH BY                THEIR TERMS         SURVIVE ANY TERMINATION OF THIS

AGREEMENT, AND (iii) THE PARTIES' RESPECTIVE OBLIGATIONS UNDER THE SECOND SENTENCE

OF SECTION 1 1.1 OF THIS AGREEMENT REGARDING THE PREY AILING PARTY'S RIGHT TO RECOVER

ATTORNEYS' FEES, THE PARTIES HERETO SHALL BE RELIEVED OF ANY FURTHER LIABILITY OR

OBLIGATION UNDER THIS AGREEMENT.                         BY PLACING THEIR INITIALS IN THE SPACES PROVIDED

BELOW, EACH PARTY SPECIFICALLY ACKNOWLEDGES AND CONFIRMS THE ACCURACY OF THE

STATEMENTS             SET FORTH ABOVE AND THAT THEY WERE REPRESENTED BY COUNSEL OF THEIR

CHOICE WHO FULLY EXPLAINED THE CONSEQUENCES OF THIS LIQUIDATED DAMAGES PROVISION

AT THE TIME OF EXECUTION OF THIS AGREEMENT.




                                          APP' s Initials:           Buyers t i e . L . (R .




          3.2.3        On the Closing Date: (a) Buyer shall authorize and instruct the Escrow Holder in writing to deliver

the Deposit (in Good Funds) to APP, (b) APP shall identify the amount of the Gap Payments and such amount shall

be applied as a credit in favor of Buyer        toward payment of the Purchase Price, (c) Buyer shall pay to APP, by wire

transfer to APP's bank in Good Funds and in accordance with such written transfer instructions as APP may provide

to Buyer prior to the Closing Date the balance of the Purchase Price (i.e., an amount equal to the Purchase Price, minus

the Deposit, minus the amount of the Gap Payments, plus other adjustments for charges of MCI related to file creation

or processing charges, service fees payable to MCI for the period from and after December 3 1 , 2023, and arbitration

fees and collection agency fees paid during the period from November 16, 2023 to the Closing Date); (d) all of the

Accounts    in the corresponding Portfolio and all of APP' s rights,           title   and interest in   such Accounts        and in the

corresponding Gap Payments, shall be deemed irrevocably and permanently vested in and transferred to Buyer upon

receipt by APP's bank of the balance of the Purchase Price as required by subpart (c)                       above;   (e) APPHL shall

immediately upon receipt of such          balance of the Purchase Price execute and deliver to Buyer an Assignment of

Accounts (in the form attached hereto as Exhibit 3); and (f) Buyer will be conclusively deemed to have received all




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data and information regarding the Accounts which is necessary to collect.                      The occurrence or deemed occurrence of

all of the events/actions/authorizations described in subparts (a) through (f) of this Section 3 . 2 . 3 is sometimes referred

to in this Agreement as the "Closing."




                                  ARTICLE4              POST-CLOSING DATE OBLIGATIONS



4.1           Cessation of APP operations; Gap Payments and Direct Pavments.                           On the Closing Date, APP will credit

Buyer in the amount of the Gap Payments APP                  has received prior to such date toward payment of the Purchase Price.

Buyer acknowledges and understands that APP is in the process of ceasing operations and such cessation of operations

is expected to be final within 30 days following the Closing Date (the "Cessation Date").                         Buyer acknowledges and

understands that Gap Payments and Direct Payments may continue to be received in APP bank accounts following

the Cessation Date and that APP will not have the capacity to facilitate transfers of Gap Payments or Direct Payments

to Buyer after the Cessation Date.            APP shall, at Buyer's expense, reasonably cooperate in good faith with Buyer

following the Closing Date          and prior to     the Cessation Date         to   establish mechanisms and procedures designed to

facilitate the reporting and transfer to Buyer of Direct Payments or Gap Payments (including, at APP's election, by

crediting such amounts against amounts owing from Buyer to APP) received in APP bank accounts after the Cessation

Date including reasonably cooperating in good faith to facilitate transferring control of or providing to Buyer access

to    such   accounts.    Upon    confirmation      of APP's     Plan   of Liquidation      (the   "Plan"),   APP   shall   use   commercially

reasonable efforts to (i) provide that the liquidating trust to be established under the Plan shall use commercially

reasonable efforts (at no material cost or expense to the trust) to maintain, for a period of not less than six (6) months

following      the   Closing,   either   directly   or by   contract,   all   bank   accounts   into   which   payments     on    any   Accounts

purchased by Buyer hereunder are made, provided that in no event shall the trust be required to engage in litigation or

similar activity in connection with such efforts, and             (ii) include provisions in the Plan or the order of the Bankruptcy

Court confirming the Plan (the "Confirmation Order" ) to effectuate the efforts of the liquidating trust as provided

herein.      Provided that APP has provided to Buyer sufficient information to identify accounts sold to third parties (such

as a list of accounts purchased by third parties) and Buyer has obtained control of or access to the aforementioned

APP bank accounts, Buyer shall              use diligent and commercially reasonable efforts to reconcile ownership of those

payments and for remittance to the applicable owners and Buyer shall, in addition to Buyer's obligations under Article

6 hereof,      indemnify, protect and hold APP and the afore-referenced liquidating trust (and its trustee) harmless of,

from and against any claims relating to such reconciliation and/or remittances after the Closing Date.                            Buyer will not

assume any liability to such third party owners pursuant to the reconciliation or remittance process; provided, however,

Buyer expressly acknowledges that nothing in this sentence shall be deemed to in any way limit or affect Buyer's

obligations to APP, the liquidating trust and the liquidating trustee pursuant to the immediately preceding sentence of

this Section 4.1. Buyer shall reimburse the trust for the actual expenses incurred in connection with maintenance of

bank accounts following the Closing Date as provided herein.                    APP irrevocably authorizes Buyer and/or its agents to

endorse, negotiate and deposit any checks or other payment instruments drawn by or on behalf of Account obligors

and made payable to APP in payment of Accounts included in the Portfolio. Following the Closing, Buyer shall bear

and pay all banking fees incurred in connection with the maintenance and operation of the bank accounts into which

the payments described above are made.




4.2          Documentation.        If either Party becomes involved in litigation with a responsible party or a patient, as may

be applicable, the other Party agrees to expeditiously, following the other Party's receipt of a written request therefor,

provide such reasonable documentation (including payment and collection history) as may be in the other Party's

possession or control and assistance, in each of the foregoing cases at the requesting Party's cost and expense. APP

shall use commercially reasonable efforts to obtain and provide to Buyer by not later than five (5) days before the

Closing Date, imaged copies of itemized billing statements. Notwithstanding the above or anything else to the contrary

herein, Buyer hereby expressly acknowledges that APP is not able (and will have no obligation or responsibility) to

obtain, provide or seek to facilitate delivery or maintenance by any third party of patient                    responsibility forms for any

of the    Accounts.




4.3          Instructions to Collection Agents.             At least five (5) days before the Closing Date, APP will (a) cease all

internal collection efforts on the Accounts in the Portfolio and (b) instruct all collection agencies APP has/had retained

to immediately cease all collection activities with respect to such Accounts (including removal of such Accounts from

any reports such collection agency makes to credit reporting agencies).                   At least five (5) days before the Closing Date,

APP will direct its collection agents to produce the Transaction Detail and File and use commercially reasonable




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efforts to seek compliance                  with this directive; provided, however,              it   is expressly understood and agreed that APP

shall have no liability or responsibility to Buyer whatsoever should such agents fail to comply with such direction.



4.4            Notice of Transfer.            Buyer or its agent will, as permissible and in accordance with applicable law, include

in     its   initial written collection        communication        to   the responsible        party       on   the Accounts    in   the Portfolio         a notice

consistent with the provisions of this Agreement that provides that APP has transferred ownership of such Account(s)

to Buyer.




4.5            Notification of Claims.             Each Party will promptly (and, in no event later than five (5) business days after

becoming aware of the same) notify the other in writing of any Claim (as defined in Article 6 below) against the other

Party that may come to its attention.




4.6            Compliance With Laws.               Buyer and APP will each comply fully and at all times with all applicable federal,

state        and   local    laws,    ordinances,   rules,    regulations,      codes,      permits,    licenses,      authorizations       and    orders     of     any

governmental body, agency, authority or court with regard to the Accounts that are the subject of this Agreement.



             ARTICLES                CERTAIN COVENANTS, WARRANTIES AND REPRESENTATIONS OF THE

                                                                          PARTIES



5.1            Buver's Authority.            Buyer hereby represents and warrants to APP that it has the power and authority to enter

into this Agreement and to fulfill its obligations herein without consent of any third party.



5.2            APP'sAuthority,              Subject to entry of the Approval Order, APP hereby represents and warrants to Buyer

that it has the power and authority to enter into this Agreement and to fulfill its obligations herein without consent of

any third party.




5.3            Buyer's Review of Data.               Buyer represents and warrants that it has reviewed the data and information

provided by APP regarding the Accounts and has determined that upon receipt of the File and the Transaction Detail

(which,        as provided        above,    APP    shall direct its      collection        agents to provide),         there will be       sufficient       data    and

information regarding each Account to carry out Buyer's intended purpose.



5.4            Intentionally Omitted.




5.5            Organization. To the best of APP's knowledge, the entities comprising APP are all duly organized, validly

existing and in good standing under the laws of their applicable states of formation or incorporation, with all requisite

power and authority to conduct its business in each jurisdiction where it operates.




5 .6           Aceuraev         of      .
                                     File   To the best     of   APP's   knowledge         and as represented to          APP by its third party revenue

cycle        manager,      Medical    Consultants,   Inc.,   a subsidiary      of RI      (MCT),      the   information    and   data   contained      in   the    File,




is complete and accurate, as of the date of its delivery in all material respects.                                N  otwithstanding the      fo  regoing, as the

Buy     er acknowledges that APP relied on third parties                    (M   CI and collection agencies) with respect to all information

and data in the File, APP shall have no responsibility or liability to Buyer whatsoever for any inaccuracies contained

therein.



5. 7           Intentionally Omitted.



5 .8           Collection Activities.



               5.8.1         APP hereby covenants and agrees that,                   following the      C   losing    Date, APP will not take, or, to the

extent APP can reasonably control                   the same, suffer or permit any action inconsistent with Buyer's ownership of the

Accounts           and    the   corresponding      Gap   Payments        and    Direct      Payments,       including     but   not   limited     to   any    action

purporting to settle, renegotiate, restructure, novate or forgive any debt under any such Account.



               5. 8 . 2      Buyer hereby covenants and agrees that, following the Closing Date, Buyer will not take any action

which could injure or harm APP' s reputation in the community or its relationships with patients and hospitals.                                               B    uyer

furt   her agrees not to institute legal action against any Account holder or customer. Notwithstanding the foregoing, or




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anything to the contrary herein, to the extent permissible under applicable law, nothing in this Agreement shall restrict

Buyer's ability to initiate, maintain and continue any IDR process or arbitration with respect to the payment of claims

or the Accounts, related to the NSA. At the Closing, Buyer shall reimburse to APP (either in cash or by providing a

credit to APP increasing the Purchase Price) an amount equal to all arbitration fees paid by APP during the period

from November 16, 2023 to the Closing.




          5.8.3     Buyer hereby acknowledges that APP has disclosed to Buyer that MCI's service agreement with

APP ends on December 3 1 , 2023 (the "Service End Date") and further Buyer agrees that Buyer will bear and pay all

fees and charges payable with respect to any continuation of MCI's services beyond the Service End Date from and

after the Service End Date, until the later to occur of (i) the transfer of the ownership of the Accounts to Buyer, and

(ii) if MCI determines, in its sole discretion, to enter into an agreement with Buyer to render its services directly to

Buyer (a "New Service Agreement"), then the date on which such services are transitioned to Buyer to be rendered

pursuant to such New Service Agreement.




5.9       Accounts are As-Is and With AII Faults. Notwithstanding APP's representations and warranties in this

Agreement or anything herein to the contrary herein, Buyer expressly acknowledges and agrees it has reviewed the

Accounts and it will accept all of the Accounts "as is" and "with all faults" and that APP makes no representations or

warranty whatsoever as to the collectability of the Accounts (or any of them).



                                            ARTICLE6           INDEMNITY



          Buyer agrees to defend, hold harmless      and indemnify APP,     its officers,   directors,   members,   managers,

employees and agents, from and against all liabilities, claims, demands, suits or judgments, damages, legal fees and

costs, asserted by any third party (a "Claim") and arising out of or resulting from the activities of Buyer, its employees,

agents, subcontractors, vendors and assignees with regard to the collection of Accounts in the corresponding Portfolio

or based on arising out of breach of any of Buyer's duties, warranties or representations under this Agreement.          APP

may, at its own expense, be represented by its own counsel in defense of the Claim. For the avoidance of all doubt,

the provisions of this Article 6 and Buyer's obligations hereunder shall survive the Closing.




                                  ARTICLE 7          LIMITATION OF LIABILITY



          Except as to fraud, intentional misconduct, breaches of Section 4.6 , and the liabilities and obligations of

Buyer arising under Article 6, under no circumstances will either Party be liable to the other for any special, incidental,

indirect, punitive, statutory or consequential damages resulting from, arising out of, or related to its performance or

failure to perform any of its obligations under, or its breach of, this Agreement, whether or not such Party has been

advised, knew, or should have known, of the possibility of such damages.



                                           ARTICLE 8          ASSIGNMENT



          Neither Party may assign this Agreement, in whole or in part, without the express written consent of the other

Party (which consent may be granted or withheld in the sole discretion of the Party to whom any such request for

consent is directed), except that, notwithstanding anything to the contrary herein, APP shall have the right, without

Buyer's consent, to transfer and assign this Agreement to any trustee appointed in the Case or any other successor or

assign of or from APP pursuant to the Case.     For the avoidance of doubt, Buyer may not sell any Account to a third

party.




                                          ARTICLE9           TERMINATION



9.1       Certain Termination Rights. For any material breach of any of the representations and warranties or of any

covenants and obligations set forth in this Agreement (including, without limitation, the obligation of Buyer to post

the Deposit and the obligation of Buyer to pay the Purchase Price, in each case, as and when required hereunder), the

non-breaching Party hereunder may terminate this Agreement if such breach is not cured by the breaching Party within

five (5) days after such breaching Party's receipt of written notice thereof unless this Agreement otherwise provides

that such termination may be immediate, it being further agreed that neither Party shall be entitled to any cure rights

hereunder with respect to any breaches that are not of a nature that can be cured.   Any Party who is not then in breach




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hereunder, may also terminate this Agreement and the transactions contemplated herein immediately upon written

notice to the other Party in the event that the Approval Order has not been entered by January 9, 2024 (the "Outside

Entry Date," as the same may be extended by APP pursuant to the provisions of Article 10 below) or the Closing has

not occurred by January 12, 2024 (the "Outside Closing Date," as the same maybe extended pursuant to the provisions

of Article 10 below). In addition, Buyer shall be permitted to terminate this Agreement immediately upon entry of an

order by the Bankruptcy Court dismissing the Case,              converting the Case to a proceeding under Chapter 7 of the

Bankruptcy Code, appointing a trustee in the Case or appointing an examiner with expanded powers in the Case, but

in each of the foregoing cases, only if the action or event described occurs prior to the Closing.




9.2          No Further Collections.        If this Agreement tenninates as set forth above in Section 9.1 above, Buyer shall

immediately cease collection efforts and return all of the Accounts transferred to Buyer hereunder, including any and

all information and documentation in the possession of Buyer pertaining to Buyer's collection activities on such

Accounts, to APP within ten (10) days of the date of termination.




                                        ARTICLE 10         CERTAIN BANKRUPTCY MATTERS



             Promptly following mutual execution and delivery of this Agreement, APP shall file a motion with the

Bankruptcy Court seeking entry of the Approval Order (the form and substance of which Approval Order shall be

subject to both Buyer's and APP's reasonable approval and shall be consistent with the terms of this Agreement).

APP shall use commercially reasonable efforts to obtain the Approval Order and Buyer shall reasonably cooperate,

if requested by APP, in such efforts.        If the Bankruptcy Court has not entered the Approval Order by the Outside

Entry Date or the Closing has not occurred by the Outside Closing Date, as applicable, and APP does not elect

(which election shall be in APP's sole and absolute discretion) in writing to extend the Outside Entry Date and/or

the Outside Closing Date, as applicable (with any such extension of such dates to be no longer than thirty (30)                days

in length), then, as long as they meet the requirements of the last sentence of Section 9 . 1 , Buyer or APP may

terminate this Agreement in accordance with Section 9 . 1 .         Notwithstanding anything else to the contrary herein,

Buyer expressly acknowledges and agrees that this Agreement is subject to higher and better offers which may be

submitted by third parties and considered by APP and the Bankruptcy Court at the Bankruptcy Court hearing on

APP's motion for entry       of the Approval Order, provided, however that Buyer may immediately terminate this

Agreement in its entirety in the event that APP accepts an offer from another bidder for all or any part of the

Portfolio.




                                   ARTICLE 11           NOTICES AND MISCELLANEOUS



11.1         Remedies.    All remedies of the Parties will be cumulative. If a Party breaches, the non-breaching Party will

be entitled to seek injunctive relief in addition to any remedy at law           for   actual damages, and the prevailing Party   in


any litigation or proceeding will be entitled to its reasonable attorney's fees and costs and expenses of suit.



1 1. 2        Notices.   All notices required or permitted to be given under this Agreement must be in writing and will be

deemed received by the Party to whom addressed, (a) immediately if delivered personally or by facsimile with proof

of successful transmission,      (b)   o n e ( ! ) business day after over-night dispatch by nationally recognized courier, or (c)

five     (5) business days after dispatch by certified U.S. mail postage prepaid, return receipt requested.     Such notices   must

be directed as set forth in the    Summary Sheet       of this Agreement; or to such other address as either Party specifies in

a written notice to the other Party given in accordance with the provisions hereof.




11.3         Entire Agreement.     This Agreement, the File(s), the Transaction Detail, and the attachments, schedules, and


exhibits referred to herein constitute the entire agreement         and    understanding between the Parties and supersede and

merge all prior proposals,     understandings and all other agreements, with respect to the subject matter contained herein.



1 1. 4       Waivers and Modifications;         Time   of the   Essence.    This Agreement may not be       amended except by a

writing executed by all of the Parties hereto. No provision hereof may be waived except by a writing signed by the

Party against whom any such waiver is sought to be enforced.               The waiver by any Party of a breach of any provision

of this Agreement will not operate or be construed as a waiver of any subsequent breach. Time is of the essence with

respect to performance of each Party's obligations under this Agreement.




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I 1.5          Governing Law, Waiver of_ Jury Trial,                      Etc.   This   Agreement will be         governed by         and   construed     in

accordance with the laws of the State of Delaware. Any suit, action or other proceeding arising out of or relating to

this Agreement or any transaction contemplated hereby shall be brought exclusively in the Bankruptcy Court.                                          Each

of the Parties hereby irrevocably submits to the exclusive jurisdiction of the Bankruptcy Court for the purpose of any

such suit, action or other proceeding.               A final judgment in any such suit, action or other proceeding may be enforced

in other jurisdictions by suit on the judgment or in any other manner provided by Law.                               Each Party irrevocably and

unconditionally waives any objection to the laying of venue of any action, suit or proceeding arising out of this

Agreement or the transactions contemplated hereby in such court, and hereby irrevocably and unconditionally waives

and agrees not to plead or claim in any such court that any such action, suit or proceeding brought in any such court

has been brought in an inconvenient forum.                    Each Party further agrees that service of any process, summons, notice

or document by U.S. registered mail to such Party's respective address set forth herein shall be effective service of

process for any such action, suit or proceeding.                   Nothing in this Section       1 1 . 5 , however, shall affect the right of any

Party     to    serve   legal   process   in   any    other   manner       permitted    by    Law.     EACH       PARTY        HERETO          HEREBY

IRREVOCABLY               WAIVES          ALL    RIGHT        TO    TRIAL        BY     JURY    IN     ANY    ACTION,           PROCEEDING                OR

COUNTERCLAIM                (WHETHER BASED                ON CONTRACT,                TORT OR        OTHERWISE)          ARISING        OUT OF          OR

RELATING TO THIS AGREEMENT, THE TRANSACTIONS CONTEMPLATED HEREBY OR THE ACTIONS

OF       SUCH    PARTY      IN THE NEGOTIATION,                  ADMINISTRATION,                PERFORMANCE              AND        ENFORCEMENT

HEREOF.




11.6           No Third Partv Beneficiaries.            This Agreement is solely between APP (including, without limitation, those

Affiliated Parties on whose behalf APPHL is executing this Agreement) and Buyer and is not intended to confer any

rights whatsoever on any third parties (other than (i) as provided in the indemnity in favor of the liquidating trust and

liquidating trustee included in Section 4 . 1 hereof, (ii) such Affiliated Parties on whose behalf APPHL is executing

this Agreement,         and (iii) any trustee appointed in the Case or any other successor or assign of or from APP pursuant

to the Case).




I I. 7         Effect   of Invalid    Provisions.          If any    provision      of this    Agreement     is   held   to    be   invalid,    illegal   or

unenforceable, it will be deemed severed from this Agreement without affecting the validity, legality or enforceability

of the remaining provisions of this Agreement.




11.8           Execution in Counterparts. This Agreement may be executed in counterparts, each of which when executed

and delivered shall be deemed to be an original and all of which counterparts taken together shall constitute but one

and the same instrument.           This Agreement shall become effective when each Party shall have received a counterpart

hereof signed by the other Party.




1 1. 9         Manner of Deliverv.         Delivery       of an executed         counterpart   of a signature page        to   this   Agreement,        any

Ancillary Document or any other agreement or document by facsimile or scanned pages (whether prior to, at or after

the Closing) shall be effective as delivery of a manually executed counterpart of the applicable document. No Party

shall raise the use of a facsimile machine or electronic transmission to deliver a signature or the fact that any signature

or agreement or instrument was transmitted or communicated through the use of a facsimile machine or electronic

transmission as a defense to the formation or enforceability of this Agreement, any Ancillary Document or any such

other agreement or document and each Party forever waives any such defense.                              The words "execution," "executed",

signed,"        "signature,"    and   words     of like   import     in   this   Agreement     shall   include    images      of manually       executed

signatures transmitted by facsimile or other electronic format (including, without limitation, "pdf," "tif' or jpg") and

other electronic signatures (including, without limitation, SignNow and DocuSign).




11.10          Effect of Legal Holidavs, Etc.          If any Direct Payment Due Date, Gap Payment Due Date, File delivery date

or Closing Date falls on a legal holiday, such date will be deemed to be the next business day that is not a legal holiday.

Where the term "month" or "monthly                   period is used herein, unless the context requites otherwise, such term refers a

calendar month.




I I. 11        Effect of Closing      on Continuation of Obligations.                   Except only for the Parties'           respective      rights   and

obligations, as applicable, under Section 2.5, Section 3.2, Section 5.8, Section 5.9, Section 9.2, Article 4(Post Closing

Date Obligations"),         Article 6 ("Indemnity"), Article 7 (Limitation of Liability"), Article 8 ("Assignment"), and this

Article 1 1     (Notice and Miscellaneous Provisions"), which will survive the Closing Date or any termination of this




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Agreement, all representations, warranties and other obligations of the Parties hereunder shall lapse and cease to be

of any further force or effect upon the Closing.



1 1.1 2    Agreement Not To Sue.     Buyer affirms that Buyer will not sue obligors as part of its collection practices

with respect to the Accounts transferred to Buyer hereunder.




1 1. 1 3   No Resale of Accounts.   Upon portfolio purchase, Buyer shall not subsequently re-sell any Accounts to third

parties.




1 1. 1 4   No Recourse to APP Representative.      Buyer acknowledges that John DiDonato (the "APP Representative")

is entering into this Agreement solely in his capacity as Chief Restructuring Officer of APP's bankruptcy estate (and

not in his individual or any other capacity) and that in the event of APP's default hereunder or under any document or

instrument executed in furtherance of the transaction contemplated herein, APP Representative shall have no personal

liability, it being expressly understood that Buyer's recourse in any such event shall be limited solely to the assets of

APP' s bankruptcy estate.




                                            [Signatures on following page]




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As evidenced by their signatures below, the Parties hereby agree to be bound by the terms of this Account Purchase

Agreement.




APPHL:       American Physician Holdings, LLC,

             Chapter 1 1 Debtor and Debtor in Possession, on behalf

             of itself and the Affiliated Parties




By:---------------
       James E. Nugent



Its: Interim CEO and Deputy Chief Restructuring Officer




                    15
Date: December _, 2023




                 e Capital Funding, LLC




       Lee Brockett




Its:   CEO



Date: December /S, 2023




                                      [Signature Page to Account Purchase Agreement]

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                                        SCHEDULE 1



                                     The Affiliated Parties




 AMERICAN PHYSICIAN PARTNERS, LLC



 APP OF ARIZONA ED, LLC

 APP OF FLORIDA HM, LLC

 APP EMERGENCY ED TX, INC.

 APP OF OHIO ED, PLLC

 CAPITAL EMERGENCY PHYSICIANS MADISON LLC



 APP OF ILLINOIS ED, PLLC



 APP OF ARIZONA HM, LLC

 APP OF NEW MEXICO ED, PLLC

 APP OF FLORIDA ED, LLC

 APP OF ILLINOIS HM, PLLC



 CAPITAL EMERGENCY PHYSICIANS LLC



 APP OF NEW MEXICO HM, PLLC

 APP OF GEORGIA ED, LLC

 APP OF KENTUCKY ED, PLLC



 APP OF TENNESSEE ED, PLLC



 APP AZ ED MEMBER I, LLC

 APP MDPARTNERS, PLLC

 APP OF TENNESSEE HM, PLLC



 APP MANAGEMENT CO., LLC




 APP AZ ED MEMBER 2, LLC




 APP MDPARTNERS OF GA, LLC




 APP OF MISSISSIPPI ED LLC




 APP OF WEST VIRGINIA HM, PLLC



 APP AZ ED MEMBER 3, LLC

 APP OF MISSISSIPPI HM, LLC



 ALIGN, M.D., PLLC




 APPROVIDERS, LLC



 APP OF WEST VIRGINIA ED, PLLC



 APP OF ALABAMA ED, LLC



 APP AZ ED MEMBER 4, LLC




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 CALEB CREEK EMERGENCY PHYSICIANS, PLLC



 APP OF ARKANSAS ED, PLLC

 APP AZ ED MEMBER 5, LLC


 COOSA RIVER EMERGENCY PHYSICIANS, PLLC

 TRUEPARTNERS EMERGENCY PHYSICIANS LLC

 APP OF ARKANSAS HM, PLLC

 DEGARA APP, PLLC



 APP AZ ED MEMBER 6, LLC



 DEGARA APP HM, PLLC

 DEGARA, P.L.L.C.




 EMERGENCY SPECIALISTS OF WELLINGTON, LLC




 DEGARA GARDEN CITY APP, PLLC



 TRUEPARTNERS COMANCHE EMERGENCY SPECIALISTS LCC



 APPTEXASHM, PLLC



 TRUEPARTNERS LAKEWOOD INPATIENT SPECIALISTS LCC




 TRUEPARTNERS WESTLAKE EMERGENCY SPECIALISTS LCC



 APP OF MICHIGAN ED, PLLC



 DEG ARA GARDEN CITY, PLLC




 ELITE EMERGENCY SERVICES OF KENTUCKY, PLLC



 APP OF ALABAMA HM, LLC

 APP OF EAST TENNESSEE HM, PLLC

 ELITE EMERGENCY MANAGEMENT, PLLC

 APP OF KANSAS ED, PLLC

 APP OF INDIANA ED, PLLC



 TRUEPARTNERS RANCH EMERGENCY SPECIALISTS LCC



 ELITE EMERGENCY HOT SPRINGS, PLLC

 NETEP,PLLC

 APPTEXASED, PLLC


 ELITE EMERGENCY RUSSELLVILLE, PLLC



 TRUEPARTNERS MANATEE EMERGENCY SPECIALISTS LCC



 ELITE EMERGENCY SVC OF KY, PLLC

 ELITE EMERGENCY SVC OF TN, PLLC


 APP OF CENTRAL FLORIDA ED, LLC



 LITTLE RIVER EMERGENCY PHYSICIANS, PLLC




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 APP OF SOUTHERN ARIZONA ED, LLC

 APP OF NORTH CAROLINA ED, PLLC

 APP OF SOUTHERN ARIZONA HM, LLC

 APP OF NORTH CAROLINA HM, PLLC



 AMERICAN PHYSICIANS PARTNERS PSO, LLC




 NORTHEAST TENNESSEE EMERGENCY PHYSICIANS, INC.




 SAN JACINTO EMERGENCY PHYSICIANS, PLLC




 WEST HOUSTON EMERGENCY PHYSICIANS, P.L.L.C.




 WOODLANDS EMERGENCY PHYSICIANS, PLLC



 ACUTE CARE SPECIALIST, LLC

 APP OF INDIANA HM, PLLC



 EMERGIGROUP PHYSICIAN ASSOCIATES, PLLC




 ST. ANDREWS BAY EMERGENCY PHYSICIANS, PLLC



 APP OF KANSAS HM, PLLC



 TOWN SQUARE EMERGENCY ASSOCIATES, PLLC



 KIRBY EMERGENCY PHYSICIANS, P.L.L.C.



 STONEY BROOK EMERGENCY PHYSICIANS, PLLC



 APP OF KENTUCKY HM, PLLC

 PROGRESSIVE MEDICAL ASSOCIATES, LLC

 APP ICU, PLLC

 APP OF OHIO HM, PLLC

 APP OF EAST TENNESSEE ED, PLLC

 APP OF NEV ADA ED, PLLC



 TEP SELECT EMERGENCY SPECIALISTS PLLC



 APP OF SOUTH CAROLINA ED, PLLC

 APP OF SOUTHERN NEW MEXICO ED, PLLC



 LONGVIEW EMERGENCY MEDICINE ASSOCIATES, P.L.LC., DB/A LEADING EDGE

 MEDICAL ASSOCIATES, P.L.L.C.



 APP TEXAS, PLLC



 TEX OMA EMERGENCY PHYSICIANS, PLLC



 APP OF SOUTH CAROLINA HM, PLLC



 APP OF SOUTHERN NEW MEXICO HM, PLLC




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 TRUEPARTNERS NORTHWEST EMERGENCY ASSOCIATES, PLLC



 APP OF WESTERN KENTUCKY ED, PLLC



 KALAMAZOO EMERGENCY ASSOCIATES, PLC




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                                                           EXHIBIT 1



                                                         Summary Sheet




Aging criteria for Accounts:             none




The Portfolios being sold and transferred to Buyer on the Closing Date:

      •   Aged Accounts previously sent to and provided by CMRE (Pool 1): 60,360 accounts with gross balances

          total of $60,248,119.

      •   Aged Accounts previously sent to and provided by Wakefield (Pool 2): 242,203 accounts with gross balances

          total of $242,097.424.

      •   Active Accounts managed by and provided by MCI (Pool 3): 275,459 accounts with gross balances total of

          $259,895,287.

      •   N S A / !DR Arbitration Claims listing provided by MCI (Pool 4): 9,540 claims for packages submitted for

          arbitration,   invoice   received,   and   pending   with   entity,   representing potential    gains   totaling   $2,784,921

          (arbitration fees have been paid for claims labeled packages submitted with potential gains to Buyer totaling

          $ 7 1 4 , 7 1 3 ; in addition, paid arbitration fees may be refunded to Buyer for successful arbitration outcomes).




The   Buyer expressly      acknowledges    that   APP   relied   on   third   parties   (MCI/Rl   and   collection   agencies)   for   the

preparation of the above summary of accounts and that, accordingly, APP shall have no liability or responsibility to

Buyer whatsoever for any inaccuracies therein.




NOTICES:



          f to APP:
          I

                   American Physician Partners, LLC

                   Attn:    Chief Restructuring Officer

                   P.O. Box 150569

                   Nashville, TN 3 72 1 5




            With copy to:

                   American Physician Partners, LLC

                   Interim CEO

                   P.O. Box 150569

                   Nashville, TN 3 7 2 1 5




          Ifto Buyer:

                   Cascade Capital Funding. LLC

                   Attn: CEO

                    5341 Old Redwood Highway, Suite 201

                   Petaluma, CA 94954




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                                                            EXHIBIT2



                                                   Business Associate Agreement




                           HIP AA BUSINESS ASSOCIATE AGREEMENT ADDENDUM




           This HIP AA Business Associate Agreement Addendum ("Addendum") amends and by this reference is made

part of that certain Account Purchase Agreement dated as of December 15, 2023 (the "Agreement"), by and between

American Physician Partners, LLC, Chapter 1 1 Debtor and Debtor in Possession in Case No. 2 3 - 1 1 4 6 9 (BLS) pending

in the United States Bankruptcy Court for the District of Delaware (such entity is referred to herein as the "Entity")

and Cascade Capital Funding, LLC (the "Associate).




           Entity and Associate agree that the parties incorporate this Addendum into the Agreement in order to comply

with the requirements of the Health Insurance Portability and Accountability Act of 1996 (HIPAA"),                         the Health

Information Technology for Economic and Clinical Health Act (HITECH") and their implementing regulations set

forth at 45 C.F.R. Parts    160 and Part      164 (the "HIPAA Rules"). To the extent Associate is acting as a Business

Associate of Entity pursuant to the Agreement, the provisions of this Addendum shall apply, and Associate shall be

subject to the penalty provisions of HIP AA as specified in 45 CFR Part 160.




1. Definitions. Capitalized terms not otherwise defined in this Addendum shall have the meaning set forth in the

HIP AA Rules. References to "PHI'' mean Protected Health Information maintained, created, received or transmitted

by Associate from Entity or on Entity's behalf.




2. Uses or Disclosures. Associate will neither use nor disclose PHI except as permitted or required by this Addendum

or as Required By Law. To the extent Associate is to carry out an obligation of a Covered Entity under the HIP AA

Rules, Associate shall comply with the requirements of the HIP AA Rules that apply to such Covered Entity in the

performance of such obligation. Without limiting the foregoing, Associate will not sell PHI or use or disclose PHI for

purposes of marketing or fundraising, as defined and proscribed in the HIP AA Rules. Associate is permitted to use

and disclose PHI:




     (a)   to perform any and all obligations of Associate as described in the Agreement (the "Services"), provided that

such use or disclosure is consistent with the terms of Entity's notice of privacy practices and would not violate the

HIP AA Rules, if done by a Covered Entity directly;




     (b)   to perform Data Aggregation services relating to the health care operations of Entity;




     (c) to report violations of the law to federal or state authorities consistent with 45 CFR § 164.5020)(1);




     (d)   as necessary   for Associate's proper management           and   administration      and to   carry out Associate's     legal

responsibilities (collectively "Associate's Operations") provided that any disclosure made for purposes of Associate' s

Operations is Required By Law or is made after Associate obtains reasonable assurances, evidenced by a written

contract, from the recipient that the recipient w i ll : ( ! ) hold such PHI in confidence and use or further disclose it only

for the purpose for which Associate disclosed it to the recipient or as Required By Law; and (2) notify Associate of

any instance of which the recipient becomes aware in which the confidentiality of such PHI was breached.




           Associate may also use PHI to create de-identified information in accordance with 45 CFR $ 164.514(b) to

the extent necessary to perform the Services or to comply with the minimum necessary standard, provided that such

de-identified   information      may   be   used   and   disclosed   only   consistent   with   applicable   law   and   shall   not   be

commercialized or sold without Entity's prior written consent.




           In the event Entity notifies Associate of an Individual's restriction request granted pursuant to 45                    CFR

$164.522 that would restrict a use or disclosure otherwise permitted by this Section, Associate shall comply with the

terms of the restriction request.




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3. Safeguards. Associate will use appropriate administrative, technical and physical safeguards to prevent the use or

disclosure of PHI other than as permitted by this Addendum and shall maintain policies and procedures to detect,

prevent, and mitigate identity theft based on PHI or information derived from PHI. Associate will also comply with

the provisions of 45 CFR Part 164, Subpart C with respect to electronic PHI to prevent any use or disclosure of such

information other than as provided by this Addendum,                   which obligation shall include maintaining safeguards that

reasonably and appropriately protect the confidentiality, integrity and availability of electronic PHI.




4. Subcontractors. In accordance with 45 CFR §§ 164.308(b)(2) and I 64.502(e)(l)(ii), Associate will ensure that all

of its Subcontractors that create, receive, maintain or transmit PHI on behalf of Associate agree by written contract to

comply with the same restrictions and conditions that apply to Associate with respect to such PHI,                                including the

obligation to safeguard PHI and comply with 45 CFR Part 164, Subpart C.




5. Minimum Necessarv. Associate represents that the PHI requested, used or disclosed by Associate shall be the

minimum amount necessary to carry out the purposes of the Agreement. Associate will limit its uses and disclosures

of, and requests for, PHI (i) when practical, to the information making up a Limited Data Set; and (ii) in all other cases

subject to the requirements of 45 CFR $              164.502(b), to the minimum amount of PHI necessary to accomplish the

intended purpose of the use, disclosure or request.




6. Obligations of Entitv.         Entity shall notify Associate of (i)           any changes     in, or revocation of, permission by an

individual to use or disclose PHI, and (ii) any confidential communication request or restriction on the use or disclosure

of PHI that Entity has agreed to or with which Entity is required to comply, to the extent any of the foregoing affect

Associate's use or disclosure of PHI to perform its obligations as described in the Agreement.




7. Access and Amendment In accordance with 45 CFR $ 164.524, Associate will permit Entity or an Individual (or

the    Individual's   personal   representative)     to   inspect   and   obtain   copies   of any PHI      about the Individual         that    is   in

Associate' s custody or control and that is maintained in a Designated Record Set If the requested PHI is maintained

electronically, Associate must provide a copy of the PHI in the electronic form and format requested by the Individual,

if it is readily producible, or, if not, in a readable electronic form and format as agreed to by Entity and the Individual.

Associate will notify Entity of any request (including but not limited to subpoenas) that Associate receives for access

to PHI that is in Associate' s custody or control within five (5) business days ofreceipt of such request. Associate will,

upon receipt of notice from Entity, promptly amend or permit Entity access to amend any portion of the PHI that is in

Associate's custody or control so that Entity may meet its amendment obligations under 45 CFR $ 164.526.




8. Disclosure Accounting.         Except for disclosures excluded from the accounting obligation by the HIP AA Rules and

regulations issued pursuant to HITECH, Associate will record for each disclosure that Associate makes of PHI the

information necessary for Entity to make an accounting of disclosures pursuant to the HIP AA Rules. In the event the

U.S. Department of Health and Human Services ("HHS") finalizes regulations requiring Covered Entities to provide

access reports, Associate shall also record such information with respect to electronic PHI held by Associate as would

be required under the regulations for Covered Entities beginning on the effective date applicable to Entity. Associate

will make information required by this Section 8 available to Entity promptly upon Entity's request for the period

requested, but for no longer than the six (6) years preceding Entity's request for the information or such other period

required by the HIP AA Rules (except Associate need not have any information for disclosures occurring before the

effective date of any previous HIP AA business associate agreements between the parties or, if none, the effective date

of this Addendum).




9.    Inspection   and   Audit.   Associate   will    make    its   internal practices,     books,   and   records,   relating   to    its use    and

disclosure of PHI available upon request to Entity or HHS to determine Entity's compliance with the HIP AA Rules.

With reasonable advance notice,         Entity may inspect the internal practices.               facilities,    systems, books,       records,    and

policies and procedures of Associate to monitor compliance with this Addendum. Associate will promptly correct any

violation of this Addendum found by Entity and will certify in writing that the correction has been made. Entity's

failure to detect any unsatisfactory practice does not constitute acceptance of the practice or a waiver of Entity's

enforcement rights under this Addendum.




10.Reporting. To the extent Associate becomes aware or discovers any use or disclosure of PHI not permitted by

this   Addendum,      any   Security   Incident      involving      electronic     PHI,   any   Breach     of   Unsecured   Protected      Health

Information or any Red Flag (as defined at 16 CFR $ 681.2(b)) related to any individual who is the subject of PHI,




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Associate shall promptly report such use, disclosure, Security Incident, Breach or Red Flag to Entity. Associate shall

mitigate, to the extent practicable, any harmful effect known to it of a Security Incident, Breach or use or disclosure

of PHI by Associate not permitted by this Addendum. Notwithstanding the foregoing, the parties acknowledge and

agree that this Section constitutes notice by Associate to Entity of the ongoing existence and occurrence of attempted

but Unsuccessful Security Incidents (as defined below) for which no additional notice to Entity shall be required.

"Unsuccessful Security Incidents" shall include, but not be limited to, pings and other broadcast attacks on Associate's

firewall, port scans, unsuccessful log-on attempts, denials of service and any combination of the above, so long as no

such incident results in unauthorized access, use or disclosure of electronic PHI. All reports of Breaches shall be made

within five (5) business days of Associate discovering the Breach and shall comply with and include the information

specified at 45 CFR $ 1 6 4 . 4 1 0. Associate shall promptly reimburse Entity all reasonable costs incurred by Entity with

respect to providing notification of and mitigating a Breach involving Associate, including but not limited to printing,

postage costs and toll-free hotline costs.




IL Term and Termination. This Addendum shall be effective as of the effective date of the Agreement and shall

remain in effect until termination of the Agreement. Either party may terminate this Addendum and the Agreement

effective immediately if it determines that the other party has breached a material provision of this Addendum and

failed to cure such breach within thirty (30) days of being notified by the other party of the breach. If the non-breaching

party determines that cure is not possible, such party may terminate this Addendum and the Agreement effective

immediately upon written notice to other party.




          Upon termination of this Addendum for any reason, Associate will, if feasible, return to Entity or securely

destroy all PHI maintained by Associate in any form or medium, including all copies of such PHI, at no cost to Entity.

Further, Associate shall recover any PHI in the possession of its Subcontractors and return to Entity or securely destroy

all such PHI. Notwithstanding the foregoing, Associate shall notify Entity and receive Entity's written consent prior

to destroying any PHI of which Entity does not maintain a duplicate copy. In the event that Associate determines that

returning or destroying any PHI is infeasible, Associate shall promptly notify Entity of the conditions that make return

or destruction infeasible. With regard to any PHI that Entity agrees cannot feasibly be returned to Entity or destroyed,

Associate may maintain such PHI but shall continue to abide by the terms and conditions of this Addendum with

respect to such PHI and shall limit its further use or disclosure of such PHI to those purposes that make return or

destruction of the PHI infeasible. Associate shall comply with this Section within thirty (30) days of termination of

this Addendum. Associate shall provide Entity with written certification of its compliance with this Section within

forty-five (45)    days   of termination of this Addendum.             Upon termination of this Addendum for any reason, all of

Associate's obligations under this Addendum shall survive termination and remain in effect (a) until Associate has

completed the return or destruction of PHI as required by this Section and (b) to the extent Associate retains any PHI

pursuant to this Section.




12. General Provisions. In the event that any final regulation or amendment to final regulations is promulgated by

HHS or other government regulatory authority with respect to PHI, this Addendum will automatically be amended to

remain    in    compliance   with     such    regulations,   and    Associate     shall   promptly    amend   its   contracts,    if   any,   with

Subcontractors to     conform to the terms of this Addendum. Any ambiguity in this Addendum shall be resolved to

permit the parties to comply with the HIP AA Rules. Nothing in this Addendum shall be construed to create any rights

or remedies in any third parties or any agency relationship between the parties. A reference in this Addendum to a

section in the HIP AA Rules means the section as in effect or as amended. This Addendum replaces and supersedes

and previous business associate agreements between the parties. The terms and conditions of this Addendum override

and control any conflicting term or condition of the Agreement. To the extent Associate has limited its liability under

the terms of the Agreement by a maximum recovery for direct damages, disclaimer against any consequential, indirect

or   punitive   damages    or   any   other    limitation,   all   limitations   shall    exclude   any   damages   to   Entity   arising     from

Associate's breach of its obligations under this Addendum. All non-conflicting terms and conditions of the Agreement

remain in full force and effect.




13. Indemnification. Associate agrees to indemnify, defend and hold harmless Entity and its respective employees,

directors, officers, subcontractors, agents or other members of its workforce (each an ·'Indemnified Party'") against all

liability to third parties arising from or in connection with a non-permitted use or disclosure or other breach of this

Addendum by Associate or its Subcontractors or any Breach involving PHI held by Associate or its Subcontractors

(collectively, "Claims"). Accordingly, on demand, Associate shall reimburse any Indemnified Party for any and all

actual and direct losses, liabilities, lost profits, fines, penalties, costs or expenses (including reasonable attorneys' fees)




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which may for any reason be imposed upon any Indemnified Party by reason of any suit, claim, action, proceeding or

demand by any third party which results from any Claim. If Associate assumes the defense of a Claim, Entity shall

have the right, at its expense, to participate in the defense of such Claim. Associate shall not take any final action with

respect to any Claim without the prior written consent of Entity. Associate's obligation to indemnify any Indemnified

Party shall survive the expiration or termination of this Addendum.




 IN WITNESS WHEREOF,         the parties have executed this Addendum on the dates indicated below.



ENTITY
                                                        Assoc1ATE            /




By:_______________                                                       ,

Name:    James E. Nugent       Name:  Z e e Koc±zett
Title: Interim CEO/ Deputy CRO Title: _Cf

Date: 12/15/2023
       _ D a t e : _/2/p              /oo



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                                                                     EXHIBIT3



                                          ASSIGNMENT OF ACCOUNTS RECEIVABLE



           THIS ASSIGNMENT is dated as of[date], 202[_.l and is made and entered into by and between American

Physician Holdings, LLC, Chapter 1 1 Debtor and Debtor-in-Possession in Case No.[_] (the "Case") pending in the

United States Bankruptcy Court for the District of Delaware (the "Bankruptcy Court"), on behalf of itself and the

Affiliated Parties (hereinafter collectively referred to as "Assignor") and Cascade Capital Funding, LLC, with its

principal place of business at 5341 Old Redwood Highway, Suite 2 0 1 , Petaluma, CA 94954                                  (the "Assignee").



           WHEREAS, pursuant to the "Account Purchase Agreement" dated [date], 202[_.l, between Assignor and

Assignee,   the   Assignee purchased                from   the Assignor the Accounts,            listed   in   applicable Files   and   all proceeds,

including Gap Payments; and




           WHEREAS, all capitalized terms used in this Assignment and not otherwise defined shall bear the meanings

ascribed thereto in the Purchase Agreement;



           NOW THEREFORE, in consideration of the mutual undertakings of the Parties and the covenants in this

Assignment and other good and valuable consideration, the Parties agree as follows:



1.         Assignor hereby absolutely assigns to Assignee all of the Accounts in the Portfolio set forth in the applicable

Files and all of Assignor's right and interest in and to such Accounts, and every part of them respectively, together

with all payment intangibles, health-care insurance receivables,                            and proceeds thereof (including Gap Payments);

Assignee to receive and take such Accounts for its absolute use and benefit.




2.         This Assignment will be governed by and construed in accordance with the laws of the State of Delaware

(without regard     to   its    conflicts     of laws      principles   or   rules).   In    accordance    with    the   Purchase   Agreement,   this

Assignment may be executed by the Parties in separate counterparts (and by facsimile transmission) each of which

when so executed and transmitted or delivered shall be an original.



3.         Notwithstanding anything to the contrary herein, Assignor is executing and delivering this Assignment in

accordance with     and        subject   to   all   of the   terms   and provisions         of the   Purchase     Agreement    (including,   without

limitation, the limitations and acknowledgements set forth therein, including, without limitation, Section 1 1 . 1 5 ) .                          To

the   extent of any inconsistency between the                  terms and provisions of the Purchase                 Agreement and those        of the

Assignment, the terms and provisions of the Purchase Agreement shall govern and control.



           IN WITNESS WHEREOF the Parties have hereunto duly executed this Assignment on the date first above

written.



Assignor



APPHL:      American Physician Holdings, LLC,

            Chapter 1 1 Debtor and Debtor in Possession,

            on behalf of itself and the Affiliated Parties




By:--------------



Name:

Title:




Assignee



By:                                                              �




Name:




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